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   8 Pinkette Clothing, Inc.
   9
                         UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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       PINKETTE CLOTHING, INC.,                  CASE NO. 15-CV-4950 SJO (AJWx)
  12
  13                    Plaintiff,               PINKETTE’S NOTICE OF
                                                 MOTION AND MOTION TO
  14
            v.                                   EXCLUDE EXPERT TESTIMONY,
  15                                             REPORT AND, OPINIONS OF
       COSMETIC WARRIORS LIMITED, et.            EXPERT WITNESS ERICH
  16
       al.,                                      JOACHIMSTHALER
  17
                        Defendants.              [Declaration of Kevin Bringuel in
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                                                 Support Thereof]
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       AND RELATED COUNTERCLAIMS                 [PUBLIC VERSION WITH
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                                                 REDACTIONS]
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                        MIL TO EXCLUDE JOACHIMSTHALER TESTIMONY
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   1                      NOTICE OF MOTION AND MOTION
   2        PLEASE TAKE NOTICE that at the Final Pretrial Conference on January
   3 17, 2017 at 9:00 a.m., or as soon thereafter as this matter can be heard before the
   4 Honorable S. James Otero, located at Courtroom 10C, Tenth Floor, United States
   5 District Court, Central District of California (Western Division), 350 W. 1st Street,
   6 Los Angeles, CA 90012, Plaintiff Pinkette Clothing, Inc. (“Pinkette”) will and
   7 hereby does move for an order to exclude the expert testimony, report, and
   8 opinions of Defendant Cosmetic Warriors Limited’s (“CWL”) expert, Dr. Erich
   9 Joachimsthaler.
  10        This Motion is brought pursuant to Federal Rules of Evidence 401, 402, 403
  11 and 702 and the standards set forth in Daubert v. Merrell Dow Pharmaceuticals,
  12 Inc., 509 U.S. 579 (1993). This Motion is based upon this Notice of Motion and
  13 Motion; the supporting Memorandum of Points and Authorities; the supporting
  14 Declaration of Kevin Bringuel and the exhibits thereto; the pleadings, records and
  15 papers in this action; all matters of which the Court may take judicial notice; and
  16 such other and further evidence as may be presented at or before the hearing on
  17 this Motion.
  18        This Motion is made following the conference of counsel pursuant to Local
  19 Rules 7-3 and 16, which took place on December 6 and 9, 2016.
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  21 DATED: December 16, 2016             LTL ATTORNEYS LLP
  22                                      By
  23                                        James M. Lee
                                            Attorney for Plaintiff/Counter-Defendant
  24                                        Pinkette Clothing, Inc.
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                 PINKETTE’S MOTION TO EXCLUDE JOACHIMSTHALER TESTIMONY
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   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.     Introduction
   3        The Court should exclude the report, opinions, and testimony of CWL’s
   4 expert witness Dr. Erich Joachimsthaler. Dr. Joachimsthaler’s opinions regarding
   5 the strength of CWL’s LUSH mark for cosmetics and his opinions about the
   6 mark’s “natural zone of expansion” into apparel are erroneously premised on data
   7 sourced primarily from 2013-2016, when the appropriate time period for such an
   8 analysis is 2003-2004, a full decade earlier.
   9        Because nearly all of the facts used by Dr. Joachimsthaler to form his
  10 analysis are from an entirely incorrect and legally irrelevant time period, Dr.
  11 Joachimsthaler’s resulting conclusions regarding the strength of CWL’s LUSH
  12 mark and its natural zone of expansion from cosmetics to clothing are fatally
  13 flawed. Pinkette would be highly prejudiced by the admission of this irrelevant
  14 and unreliable testimony, which would confuse and mislead the jury, as well as
  15 waste valuable time and resources.        Dr. Joachimsthaler’s opinions, therefore,
  16 should be excluded.
  17 II.    History of the parties’ respective LUSH marks
  18        CWL alleges that it began selling cosmetics to United States consumers
  19 under the LUSH trademark in 1996 via its mail and order catalogue (the LUSH
  20 Times) and through its website. CWL opened its first U.S. retail store in San
  21 Francisco in December 2002. A related CWL company first applied for LUSH as
  22 a U.S. trademark in Class 3 (perfume and cosmetics) on February 25, 1997, which
  23 issued as U.S. TM Reg. No. 2,282,428 on October 5, 1999. CWL has since
  24 registered a handful of other U.S. marks containing or comprising LUSH, but none
  25 of the registered marks are in Class 25 (clothing).
  26        Pinkette began selling clothing and accessories to United States consumers
  27 under the LUSH trademark in September 2003, and by the end of 2004, it had over
  28 a million dollars in sales of wholesale clothing under the LUSH mark. Pinkette

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   1 first applied for LUSH as U.S. trademark in Class 25 (clothing) on May 11, 2009,
   2 which issued as U.S. TM Reg. No. 3,816,441 on July 13, 2010.
   3 III.   Legal Standards
   4        A.     The time period for analyzing the strength of a mark and its
   5               natural zone of expansion is at the time the junior user of the
   6               mark entered the market.
   7        “When a senior user of a mark on product line A expands later into product
   8 line B and finds an intervening user, priority in product line B is determined by
   9 whether the expansion is ‘natural’ in that customers would have been confused as
  10 to source or affiliation at the time of the intervening user's appearance.” See
  11 Brookfield Communications., Inc. v. West Coast Entertainment Corp., 174 F.3d
  12 1036, 1051 (9th Cir. 1999) (emphasis added). In other words, a trademark’s
  13 “natural zone of expansion” is confined by entrance of a junior user, and courts
  14 accordingly must evaluate the zone of natural expansion of the senior user’s mark
  15 only as of the date the junior user adopted and used that mark. See 5 McCarthy on
  16 Trademarks and Unfair Competition § 26:20 (4th ed.).
  17        “[A] senior user may not prevent use of a mark where the junior user enters
  18 a product market outside of the senior user’s natural zone of expansion.” Saul
  19 Zaentz Co. v. Wozniak Travel, Inc., 627 F. Supp. 2d 1096, 1116 (N.D. Cal. 2008)
  20 (finding that the junior trademark user’s travel services were not within the senior
  21 trademark user’s natural zone of expansion from films and related merchandise at
  22 the time the junior user entered the market).
  23        B.     Expert testimony based on flawed methodology must be excluded.
  24        Under Rule 702, the court functions as a gatekeeper and must assess whether
  25 an expert’s opinion is both relevant and reliable. Daubert, 509 U.S. at 592 (1993);
  26 Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 147 (1999) (the “basic
  27 gatekeeping obligation” articulated in Daubert applies not only to scientific
  28 testimony but to all expert testimony). “Under Daubert, the district judge is ‘a

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   1 gatekeeper, not a fact finder.’” Primiano v. Cook, 598 F.3d 558, 564–65 (9th Cir.
   2 2010).
   3        The court’s review of expert testimony focuses “solely on principles and
   4 methodology, not on the conclusions that they generate.” Daubert, 509 U.S. at
   5 595.     Evidence should be excluded as unreliable if it “suffer[s] from serious
   6 methodological flaws.” Obrey v. Johnson, 400 F.3d 691, 696 (9th Cir. 2005).
   7 “The reliability inquiry is ‘a flexible one.’” Estate of Barabin v. AstenJohnson,
   8 Inc., 740 F.3d 457, 463 (9th Cir. 2014) (quoting Kumho Tire, 526 U.S. at 150).
   9 The burden is on the proponent of the expert testimony to show, by a
  10 preponderance of the evidence, that the admissibility requirements are satisfied.
  11 Lust v. Merrell Dow Pharms., Inc., 89 F.3d 594, 598 (9th Cir. 1996); see also Fed.
  12 R. Evid. 702 advisory committee’s note.
  13 IV.    Dr. Joachimsthaler’s expert report and testimony are underpinned by a
  14        data set from an incorrect time period, and thus his analysis should be
  15        excluded in its entirety.
  16        Dr. Joachimsthaler purports to opine on, inter alia,
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  21        Pinkette began using LUSH for clothing in 2003, so the relevant period for
  22 analyzing the strength of the CWL LUSH mark and its natural zone of expansion is
  23 the 2003-2004 timeframe. Dr. Joachimsthaler’s opinions, though, are premised
  24 almost entirely on data from 2010 to 2016, and so must be excluded because they
  25 are based on an inapposite time period. His use of irrelevant data renders the
  26 entirety of his opinions misleading and prejudicial in violation of Fed. R. Evid.
  27 401, 402, 403, and 702.
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   1         A.   The significant majority of Dr. Joachimsthaler’s underlying data
   2              is not from 2003-2004, when Pinkette entered the market, and is
   3              therefore irrelevant.
   4         The Joachimsthaler Report purports to apply
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  15         None of these citations are from the relevant 2003-2004 timeframe,
  16 however. In fact, many citations are dated a decade or more later, when CWL’s
  17 LUSH brand was in an undeniably stronger position than it was when Pinkette
  18 entered the market in 2003. See Bringuel Decl. Ex. C (“Appendix A”), Fact Nos.
  19 1-17.
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        For convenience, these facts are set forth in Appendix A, which also specifies if
  26 the date is within the relevant time period of 2003-2004.
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   9        Shockingly, more than        of the data that Dr. Joachimsthaler relies upon
  10 to form his opinions is based on instances or events that occurred after       and
  11 thus are not relevant to the issue of CWL’s brand strength and natural zone of
  12 expansion when Pinkette entered the market in 2003. Nor are these facts even
  13 arguably “close enough” to the relevant time period to render the data reliable—
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  15        B.    Dr. Joachimsthaler’s deposition testimony highlights the
  16              erroneous factual underpinnings of his report.
  17        When questioned during deposition about CWL’s brand and business
  18 evolution, Dr. Joachimsthaler reinforced the differences in CWL and its use of the
  19 LUSH mark
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   25        In so concluding, Dr. Joachimsthaler disregards the underlying data—it is
   26 evident that his conclusions are not the product of reliable principles or methods.
   27 Instead, Dr. Joachimsthaler presents critically misleading conclusions in violation
   28 of Fed. R. Evid. 401, 402, 403, and 702.

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    1 V.     CONCLUSION
    2        The law on natural zone of expansion and intervening use is clear: “When a
    3 senior user of a mark on first product line expands later into separate product line
    4 and finds an intervening user, priority in second product line is determined by
    5 whether the expansion is natural in that customers would have been confused as to
    6 source or affiliation at the time of the intervening user's appearance.” Brookfield,
    7 174 F.3d at 1051. The time of the Pinkette’s appearance is 2003-2004,
    8          Relying on data that is
    9          unquestionably leads to irrelevant and prejudicial expert opinions.
   10        The Court should exclude evidence if its probative value is substantially
   11 outweighed by the danger of unfair prejudice, confusion of the issues, misleading
   12 the jury, and wasting time. Fed. R. Evid. 403. Because Dr. Joachimsthaler’s
   13 opinions are underpinned by a critically flawed data set, his report and opinions are
   14 irrelevant and must be excluded under Fed. R. Evid. 401 and 402. Finally, Dr.
   15 Joachimsthaler’s opinions must also be excluded under Fed. R. Evid. 702 and
   16 Daubert, because they are misleading and thus do not do not assist the trier of fact
   17 to understand evidence or determine a fact at issue.
   18
   19 Dated: December 16, 2016                LTL ATTORNEYS LLP
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                                              James Lee
   22                                         Attorneys for Plaintiff/Counter Defendant
                                              Pinkette Clothing, Inc.
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